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                      EXHIBIT F
Case 1:19-cv-00862-CFC-SRF Document 63-6 Filed 01/16/20 Page 2 of 23 PageID #: 2233




                                 In The Matter Of:
                                  10x Genomics v.
                                    Celsee, Inc.,




                                  Teleconference
                                 December 16, 2019




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   10x Genomics v.                                                                                               Teleconference
   Celsee, Inc.,                                                                                              December 16, 2019
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           IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF DELAWARE                    1      THE COURT: Good afternoon,
                                                                   2   everyone. This is Magistrate Judge Sherry
                          ------
                                                                   3   Fallon. This is the time that I set aside
        10X GENOMICS         )
                Plaintiff,   )
                                                                   4   for the discovery dispute over the
               V.            )CASE NO.                             5   protective order in 10x Genomics versus
                             )1:19-cv-00862-CFC-SRF
        CELSEE, INC.         )                                     6   Celsee, Inc.
                Defendant.   )                                     7      Let's start with appearances of
                                                                   8   counsel for the plaintiff.
                          ------
                                                                   9      MR. COTTRELL: Yes, good
                                                                  10   afternoon, Your Honor, Fred Cottrell of
                   Teleconference taken pursuant to
        notice at the Federal Courthouse, held in                 11   Richards Layton for the plaintiff 10x
        Magistrate Judge Sherry R. Fallon's
        Chambers, 6th Floor, 844 King Street,
                                                                  12   Genomics, and my co-counsel from Durie
        Wilmington, Delaware 19801, on Monday,                    13   Tangri, Eugene Novikov is on.
        December 16, 2019, beginning at 2:00 p.m.,
        before Patrick J. O'Hare, RPR, Notary                     14      MR. NOVIKOV: Good afternoon,
        Public.                                                   15   Your Honor.
                                                                  16      THE COURT: Good afternoon.
                                                                  17   Thank you.
                                                                  18      And who's on the line for
                                                                  19   Celsee?
                                                                  20      MR. FARNAN: Good afternoon,
                                                                  21   Your Honor, Brian Farnan on behalf of the
                     WILCOX & FETZER
            Registered Professional Reporters                     22   defendant. With me is Derek Walter from
                   1330 N. King Street                            23   Weil Gotshal.
               Wilmington, Delaware 19801
                                                                  24      MR. WALTER: Good afternoon.

                                                         Page 2                                                             Page 4
    1   APPEARANCES:
        (Via telephone)                                            1       THE COURT: Good afternoon.
    2
                                                                   2       All right. I have the filings
    3      RICHARDS LAYTON & FINGER, P.A.
           BY: FREDERICK L. COTTRELL, III, ESQ.                    3   in front of me. It appears that the
    4      One Rodney Square
           Suite 600, 920 N. King Street                           4   plaintiff's filing was the first to be
    5      Wilmington, DE 19801
           302-658-6541                                            5   docketed, I have number 45.
    6      cottrell@rlf.com
           Counsel for Plaintiff                                   6       So, I will hear from the
    7
                                                                   7   plaintiffs first and then I'll hear from
    8      DURIE TANGRI
                                                                   8   defendants with respect to the protective
           BY: EUGENE NOVIKOV, ESQ.
    9      217 Leidesdorff Street
                                                                   9   order provision that either should be
           San Francisco, CA 94111
   10      415-362-6666
                                                                  10   included in a two-tier version with
           enovikov@durietangri.com
   11      Co-counsel for Plaintiff                               11   confidential materials and highly
   12                                                             12   confidential materials, attorneys' eyes
           FARNAN, LLP
   13      BY: BRIAN E. FARNAN, ESQ.                              13   only, or the contrasting proposal by Celsee
           919 North Market Street
   14      12th Floor                                             14   with respect to having two in-house
           Wilmington, DE 19801
   15      302-777-0300                                           15   attorneys permitted under the protective
           bfarnan@farnanlaw.com
   16      Counsel for Defendant                                  16   order to view highly confidential material.
   17                                                             17       So, let me hear from plaintiffs
           WEIL, GOTSHAL & MANGES LLP
   18      BY: DEREK C. WALTER, ESQ.                              18   first.
           201 Redwood Shores Parkway
   19      Redwood Shores, Silicon Valley 94065                   19       MR. NOVIKOV: Thank you,
           650-802-3934
   20      derek.walter@weil.com                                  20   Your Honor. This is Gene Novikov from
           Co-Counsel for Defendant
   21                                                             21   Durie Tangri for the plaintiff 10x, and
   22                                                             22   I'll try to supplement our submission
   23                                                             23   rather than rehash it and Mr. Cottrell will
   24                                                             24   chime in if I go off the rails.


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    1       The one thing that I think is                           1   provision is in position for this reason.
    2   clear from the caselaw is that in a case                    2      And with respect to the general
    3   like this where you have a competitor                       3   counsel, we don't have the sort of record
    4   litigant and you have a case in which                       4   that I think the caselaw would require to
    5   highly confidential information is going to                 5   allow access in a case like this. He's
    6   get exchanged, the question of whether or                   6   provided a declaration that says only that
    7   not in-house counsel have access to the                     7   he is part time and he's based in Boston.
    8   most highly confidential information that's                 8   He doesn't say that he's a competitive
    9   going to get produced is made first with                    9   decision-maker.
   10   respect to specific individuals and not in                 10      Their brief says that he's not
   11   the abstract.                                              11   a competitive decision-maker, again, with
   12       And, two, on a pretty fulsome                          12   respect to the subject matter of the case,
   13   record about who those individuals are and                 13   for the technical subject matter of the
   14   what they do, and what we have here after                  14   case, but of course, the documents that are
   15   Celsee's responsive filing, which added                    15   going to get produced go far beyond that.
   16   some information that we didn't previously                 16      Today we have a set of
   17   have about what exactly they're proposing,                 17   disclosures due that's going to include
   18   is that they would like to have access to                  18   confidential pricing information and
   19   the most highly confidential information                   19   revenue and sales information and the --
   20   that 10x is going to be producing for their                20   Mr. LaPointe's declaration doesn't make the
   21   general counsel, who is a Ph.D. in                         21   sort of representation that the caselaw
   22   biochemistry, and sort of a player to be                   22   would require.
   23   named later. All right.                                    23      And the reason it doesn't is,
   24       And with respect to the player                         24   of course, he is a competitive

                                                          Page 6                                                             Page 8

    1   to be named later, we have this provision                   1   decision-maker, he is the general counsel
    2   that says, well, they can tell us three                     2   at a 60-person company, he's there to give
    3   days in advance who it's going to be, and                   3   strategic advice, you know, he has a Ph.D.
    4   they don't have to really tell us much                      4   in the area of science in which the company
    5   about who they are or what they do. And                     5   operates, and under any set of
    6   there's no procedure in place for us to                     6   circumstances, I strongly suspect he would
    7   raise any objections and for the Court to                   7   meet the, quote/unquote, advice and
    8   resolve any disputes.                                       8   participation in competitive
    9       And we, also, have this                                 9   decision-making standard that's set forth
   10   requirement that the person not be a                       10   in the case.
   11   competitive decision-maker with respect to                 11      And so, you know I don't want
   12   sort of the technical area of the                          12   to belabor this. In the brief they say,
   13   litigation, and it's not clear what that is                13   you know, we've asked for an injunction,
   14   supposed to mean.                                          14   they want to be able to see the documents
   15       Celsee has basically one                               15   we're relying on. I certainly get that.
   16   product line and it's a product line that's                16      I can tell you we will be
   17   the subject of this case, and so, any                      17   reasonable with respect to things like
   18   competing, the competitive decision-making                 18   contentions and we'll work with them on the
   19   at this company is going to be, you know,                  19   redactions that would be needed so that
   20   likelihood competitive decision-making with                20   their in-house folks can see the aspect of
   21   respect to the technical area of the case.                 21   the discovery that have life of strategic
   22       So, with respect to sort of the                        22   veillance.
   23   abstract proposal that they can just tell                  23      Now, the balance of harm is
   24   us who else it's going to be, we think the                 24   here, we have two small companies, they're


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    1   close competitors in the same market. Self                 1   central issue, which is that the cases
    2   presentment for their general counsel and                  2   apply a competitive decision-making
    3   someone we don't know about to have access                 3   standard that is broader than what's
    4   to our most confidential stuff, and we                     4   proposed.
    5   think it's pretty clear, at least for the                  5      Frankly, Your Honor, I'm not
    6   time being, we need to be able to produce                  6   totally sure what it means to have -- to
    7   information in this case on an outside                     7   represent that Mr. LaPointe, for example,
    8   counsel's -- true outside counsel's eyes                   8   is not a competitive decision-maker with
    9   only basis.                                                9   respect to the technical area of the case.
   10      And if the Court would like to                         10   Like, does it just mean that he is not a
   11   have a provision that permits Celsee to                   11   competitive decision-maker with respect to
   12   make the sort of record that they would                   12   product design?
   13   need under the cases to allow access here,                13      Again, I'm not sure that that's
   14   we're not opposed to that, but definitely                 14   sufficient under the cases, and it's not
   15   not the provision that they proposed.                     15   sufficient in light of the fact that we're
   16      Thank you very much.                                   16   going to be producing competitively
   17      THE COURT: Well, what more is                          17   confident data that goes beyond just
   18   needed? I can understand perhaps                          18   technical information. So, that's one
   19   lengthening the notice time, and, in fact,                19   thing.
   20   that's a provision that Celsee indicated it               20      And the other thing that I
   21   wouldn't be opposed to agreeing to                        21   would say would be needed would be a
   22   reasonable inquiries in the duration of the               22   requirement that when they propose who is
   23   notice period.                                            23   to have access they provide some
   24      And the provision they propose                         24   information that goes beyond just that

                                                        Page 10                                                             Page 12

    1   clearly affirms that the attorneys who                     1   person's name and title, which I think
    2   would see the information would not have                   2   would be all that's required under this
    3   direct responsibility for or direct                        3   provision.
    4   involvement in the prosecution of patent                   4      I think we would want to know
    5   applications or in competitive                             5   what that person's role is at the company,
    6   decision-making, and it goes on to relate                  6   that person's day-to-day interaction with
    7   specifically to the technology at issue in                 7   the senior managers and people who are
    8   this case.                                                 8   going to make competitive strategic
    9      And, as I understand it, there                          9   decisions with respect to the company, and,
   10   was even some further refinement of the                   10   you know, what measures are in place to
   11   language that follows competitive                         11   prevent inadvertent disclosures.
   12   decision-making. Certainly I'll leave it                  12      And the provision doesn't
   13   to the parties to speak to that, but what                 13   require -- doesn't require any of that at
   14   more is needed to give assurances to 10x                  14   the moment.
   15   about everything possibly being done to                   15      THE COURT: Given the size of
   16   avoid inadvertent disclosure?                             16   the defendant and some of the
   17      MR. NOVIKOV: Sure. So, I                               17   particularities of the defendant which have
   18   think a couple of things. One, it cannot                  18   been argued to be the genesis for what the
   19   just be competitive decision-making with                  19   defendants are requesting in the protective
   20   respect to the technical subject matter of                20   order, how do the parties, and potentially
   21   the case. And Your Honor is correct, there                21   the Court, deal with issues if there's
   22   was some discussion about the scope that's                22   certain information that's produced in
   23   fundamentally the scope of the prosecution                23   discovery by 10x and the Court were to
   24   bar, but that doesn't really address the                  24   hypothetically, you know, go with 10x's


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    1   proposal for the two-tier confidentiality                   1   plaintiff's submission on page nine?
    2   designations, how would Celsee deal with                    2      MR. NOVIKOV: Let me confirm.
    3   those situations in which information that                  3   Sorry, I believe I'm actually looking at
    4   might be produced with the attorneys' eyes                  4   Exhibit A to defendant's submission. I
    5   only designation is something that they                     5   apologize for that, but with respect to
    6   truly need to share with in-house folks one                 6   that, it's the same and it's on page -- it
    7   or two, but let's just say one for purposes                 7   starts on page nine of that document.
    8   of this hypothetical, in order to, you                      8      THE COURT: All right. Let me
    9   know, be able to litigate and formulate                     9   take a moment to look at that before I hear
   10   their strategy for purposes of litigation?                 10   from Celsee.
   11      How does the protective order                           11      In the interim, do you have any
   12   allow for them to seek some exceptions to                  12   additional comments before I hear from
   13   the designation to allow them to share it                  13   defendants?
   14   with the people they need to share it with                 14      MR. NOVIKOV: I don't. I'm not
   15   arguably to make decisions about litigation                15   sure if Mr. Cottrell has anything to add.
   16   strategy?                                                  16      MR. COTTRELL: No, Your Honor,
   17      MR. NOVIKOV: So, I believe the                          17   I don't have anything to add. Thank you.
   18   protective -- First of all, I mean, I think                18      THE COURT: All right. Give me
   19   the first thing that they would do is that                 19   a moment to read this provision before I
   20   they would comment and have a discussion                   20   hear from Celsee, please.
   21   with us about it.                                          21      (Brief pause.)
   22      As I said, we certainly                                 22      THE COURT: All right. Who
   23   understand their need when it comes to the                 23   will take the lead on behalf of Celsee?
   24   stuff that has strategic weight and is                     24      MR. WALTER: This is Derek

                                                         Page 14                                                              Page 16

    1   important to settlement or that is sort of                  1   Walter, Your Honor.
    2   truly pivotal to case strategy, certainly                   2      THE COURT: All right. Go
    3   understand that there may be at least a                     3   ahead, Mr. Walter.
    4   legitimate desire and a need to see that                    4      MR. WALTER: Thank you.
    5   stuff. And I think in the first instance                    5      So, you know what we have to
    6   they would come to us, and we would be                      6   look at here is a simple balancing test, we
    7   happy to work with them and see how we can                  7   have to weigh the risk of an inadvertent
    8   accommodate that while protecting our                       8   disclosure or competitive misuse against a
    9   information.                                                9   harmed and moving party.
   10      I believe, Your Honor, that                             10      And it should be very obvious
   11   there is a provision in the protective                     11   that this is not the kind of situation
   12   order for the court to resolve disputes                    12   where there's any sort of meaningful risk,
   13   with respect to the level at which                         13   and that puts aside the protections that we
   14   documents are designated. I'm scrolling                    14   put in the protective order.
   15   through that now to make sure.                             15      So, the individual, who is the
   16      THE COURT: I'll give you a                              16   general counsel now, he's a part-time
   17   moment to do that, because that's kind of                  17   general counsel, he's been with the company
   18   an important provision that I would like to                18   for five months and he works remotely.
   19   take a look at.                                            19      Okay, this is not someone who
   20      MR. NOVIKOV: Absolutely. So,                            20   is at the facility, who is there on a
   21   I just found it, it is on page nine of our                 21   day-to-day basis, he works remotely part
   22   submission, it's called contesting the                     22   time, and he's only been there for a short
   23   designation.                                               23   period of time.
   24      THE COURT: Exhibit C to                                 24      This is someone who's been


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    1   brought in to help out with discrete legal                 1      You know, we're going to make
    2   issues that the company faces, including                   2   that absolute, okay, that's not a problem.
    3   reviewing agreements, preparing supply                     3   We're willing to agree that he won't
    4   agreements, Human Recourses matters,                       4   participate in any sort of strategic
    5   material transfer agreements, and most                     5   decision-making, as long as it's clear, you
    6   importantly, one of the key things he was                  6   know, he is going to be the person who's
    7   brought in for was to manage and provide                   7   going to be making decisions related to
    8   input on the case.                                         8   management of this litigation.
    9      This isn't someone who's got a                          9      But, you know, the intention
   10   long history with the company, who's                      10   there wasn't to suggest that he won't be
   11   ingrained with their decision-making and is               11   involved in technical aspects but he will
   12   integral to everything made. He's someone                 12   be involved in business strategic
   13   who has been brought in on a part-time                    13   decision-making, that's not the intention
   14   basis, who works remotely, and his primary                14   here.
   15   role has been to manage this litigation.                  15      The individual who we propose
   16      Now, let's be clear. He's an                           16   to give highly confidential information to
   17   in-house attorney and he knows Celsee's                   17   just doesn't have the bandwidth to be
   18   business better than an outside attorney,                 18   involved in that kind of strategic
   19   but in many respects, he's actually more                  19   decision-making and that's not what he was
   20   like an outside attorney.                                 20   brought on to do.
   21      This situation we have here is                         21      That really should be enough
   22   very much like the situations that are                    22   here to allow him to have access to highly
   23   replete throughout the caselaw where courts               23   confidential attorneys' eyes only
   24   do allow in-house attorney to have access                 24   information, but there's even more, I think

                                                        Page 18                                                          Page 20

    1   to highly confidential attorneys' eyes only                1   there's another point here that's really
    2   information.                                               2   important not to forget.
    3      Now, those facts alone, okay,                           3      We're not the company that
    4   which are actually clear from the record.                  4   kicked this litigation off, we're the ones
    5   In fact, you know, it wasn't us who                        5   that have been sued. This isn't a
    6   submitted the resume of Christian LaPointe,                6   situation where you have a patent assertion
    7   that came from the plaintiffs. They                        7   entity or a company that's looking to get
    8   submitted that with their moving papers.                   8   its hands all over the inside information
    9   So, they know what he was about, they know                 9   of another company that can go off and sue
   10   how long he's been at the company, they                   10   other people about additional patent claims
   11   know he's part time.                                      11   against the company its already sued.
   12      Beyond those facts, he's                               12      10x has sued us. They have
   13   willing to agree not to be involved in                    13   asserted seven patents against us, they've
   14   having prosecution, that's a significant                  14   alleged willful infringement, they've
   15   factor, that's also something that's                      15   alleged false advertising, violation of the
   16   identified throughout the caselaw, and he's               16   Delaware Deceptive Trade Secret Patent --
   17   agreed not to participate in strategic                    17   Practices Act, and it's very clear they
   18   decision-making.                                          18   want to try and add trade secret
   19      Now, Mr. Novikov has pointed                           19   allocations to the case.
   20   out that the protective order provision                   20      They want to shut Celsee down,
   21   says he won't agree to strategic decision                 21   and now they say that the attorney that
   22   or won't participate in strategic                         22   Celsee has hired to work with them on the
   23   decision-making related to the technical                  23   case, an interstate outside counsel can't
   24   subject matter of the case.                               24   see whatever aspect of their claims and


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    1   defense is. That's heavy-handed and it's                    1      And I think there is a little
    2   not supported in the law.                                   2   risk here potential for a motion practice
    3       Now, in view of that situation,                         3   before Your Honor, which is what the
    4   there's not really any meaningful risk to                   4   protective order ultimately calls for.
    5   10x Genomics here. On the other hand, the                   5      You know, another thing Mr.
    6   significant harm is to Celsee. This isn't                   6   Novikov raised is that they want to have
    7   a company like Apple or Intel or Microsoft                  7   more information about what Mr. LaPointe
    8   that's having one of its mini product lines                 8   was going to be doing, I provided that
    9   attacked and it's going to go on doing                      9   information. I think on this call they
   10   whatever it's doing regardless of how the                  10   didn't ask for this information previously.
   11   case turns out.                                            11      I got to address the point
   12       10x is putting everything that                         12   about the competitive decision-making
   13   it's got in the entire company, and like I                 13   provision, and as Your Honor noted, they
   14   mentioned, they're trying to shut down                     14   want to have the notice provision extended
   15   Celsee. It's harmful if the person who is                  15   for a certain period of time and we can
   16   going to be supervising the patent                         16   agree to do that to address that concern.
   17   litigation on behalf of the company doesn't                17      And then, you know, finally
   18   have broad access to the litigation                        18   there's this issue of a safeguard, and as I
   19   materials in order to manage the                           19   noted already, he's someone who works
   20   litigation, make strategic decisions on the                20   remotely, he's not someone who is there on
   21   course of the case. That much is clear.                    21   a day-to-day basis, you know, walking down
   22       You know, I want to address a                          22   the hall and, you know, sharing an office
   23   couple other points that were made here.                   23   or next door to the CEO. That's not the
   24   They mentioned the provision in the                        24   situation here.

                                                         Page 22                                                          Page 24

    1   protective order regarding what happens if                  1      You know, if we need to do
    2   we can't agree. And I think Your Honor has                  2   something, you know, to affirm that they
    3   probably had a chance to take a look at                     3   got, like, an isolated litigation laptop or
    4   that, and I think the important point to                    4   an isolated litigation e-mail account, we
    5   know about that provision is that we're                     5   can do that, that's fine, but it really
    6   going to end up with a motion practice                      6   shouldn't be necessary in this kind of
    7   before Your Honor.                                          7   situation.
    8      If they don't make something                             8      And I don't have any further --
    9   highly confidential and attorneys' eyes                     9   anything further beyond that unless the
   10   only and we brought it in and we say we                    10   Court has questions.
   11   like to have it be designated and they say                 11      MR. NOVIKOV: May I respond
   12   no, the next step is motion practice before                12   briefly for defendant?
   13   Your Honor.                                                13      THE COURT: Go ahead, Mr.
   14      And, you know, I'm not too                              14   Novikov.
   15   confident -- I mean, even Mr. Novikov has                  15      MR. NOVIKOV: Thank you very
   16   said that they would be happy to work with                 16   much. So, a couple of things. So, as Mr.
   17   us on that, but I have to be clear. I'm                    17   Walter suggested at the end of the call, he
   18   not too confident in how that's going to                   18   has provided some new information that's
   19   turn out given we're in a situation that we                19   not in their filing and it's not in their
   20   have an individual like Mr. LaPointe and                   20   declaration, and that's exactly the sort of
   21   they're trying to prevent him from having                  21   thing that I think 10x and the Court should
   22   access to materials, things that may be                    22   have a record of before the decision is
   23   taking a more heavy-handed approach with                   23   made; right?
   24   this than they're suggesting.                              24      He's represented now that Mr.


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    1   LaPointe was brought on primarily to manage                1   memorandum order in writing.
    2   this case and that he is in effect more                    2      I'm sorry? It sounds like I'm
    3   like an outside attorney. That's the sort                  3   having some interference on the phone. Can
    4   of thing -- I agree that that's a salient                  4   everyone hear me?
    5   inquiry, but that's the sort of thing that                 5      MR. NOVIKOV: Yes, Your Honor.
    6   I think ought to be in a declaration from                  6      MR. WALTER: Yes, Your Honor.
    7   Mr. LaPointe.                                              7      MR. COTTRELL: Yes, I can hear
    8       And the only other thing that I                        8   you.
    9   want to say is, you know, Mr. Walter                       9      THE COURT: All right. My
   10   mentioned that, you know, Celsee is the one               10   ruling is this: For present purposes, I'm
   11   that's been sued, he suggests that we're                  11   going to go the more traditional route and
   12   trying to shut them down, and it is true                  12   adopt 10x's proposal with the two-tier
   13   that we filed this lawsuit.                               13   confidentiality tier and highly
   14       I think this lawsuit, as the                          14   confidential attorneys' eyes only tier,
   15   complaint makes clear, that my client 10x                 15   rather than Celsee's proposal.
   16   has very serious concerns about Celsee                    16      But that is without prejudice
   17   essentially being a copycat company. I                    17   to Celsee to continue to meet and confer
   18   think that that bears on whether or not                   18   with 10x to see if the parties can come to
   19   they should get to have access to the most                19   some terms, now that more information has
   20   sensitive information that's going to get                 20   been disclosed on this teleconference about
   21   produced here.                                            21   Mr. LaPointe, specifically with respect to
   22       Mr. Walter mentioned that Mr.                         22   carving out access for Mr. LaPointe to
   23   LaPointe needs stability to manage the                    23   certain documents that he might not
   24   litigation. I think the cases are clear                   24   otherwise have access to under the

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    1   that managing outside counsel is not a                     1   provisions that I am adopting today.
    2   compelling reason to grant in-house access.                2      And the basis for my ruling is,
    3   They have hired Weil Gotshal, which is                     3   as the parties have -- as both sides have
    4   obviously one of the leading accufirms in                  4   acknowledged, the caselaw informs the
    5   the country to litigate this case.                         5   Court, specifically the Deutsche Bank case
    6      As this Court has said, in                              6   and British Telecom and other cases that
    7   circumstances like these, courts typically                 7   both sides have cited in their briefing,
    8   have no trouble concluding that outside                    8   that this is a balancing test.
    9   counsel can manage the case perfectly well                 9      The risk of inadvertent
   10   without having to provide the highest                     10   disclosure or misuse must be balanced
   11   degree of information to anybody who's                    11   against the potential harm to the opposing
   12   in-house.                                                 12   party from all restrictions imposed upon
   13      So, that's all I have,                                 13   that party's right to have the benefit of
   14   Your Honor. I would submit that they have                 14   counsel of its choice.
   15   not put forth a sufficient record for the                 15      And, moreover, the Court has
   16   sort of decision they're asking Your Honor                16   brought discretion to decide the degree of
   17   to render here.                                           17   protection, and the protective order may be
   18      THE COURT: Okay. All right.                            18   used as a tool to strike that balance
   19   Having read the briefs and heard the                      19   between these competing interests.
   20   arguments of counsel on this teleconference               20      From what I've heard, the
   21   today, I'm prepared to make a bench ruling.               21   concern obviously is the disclosure of
   22      The transcript of this hearing                         22   competitively sensitive information to
   23   will serve as the order of the Court, I                   23   someone who is, because of their role
   24   will not be issuing any additional                        24   internally within the company, has the


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     1   potential to inadvertently disclose it or                  1   get to the point where there's no
     2   use it or inadvertently misuse it, not                     2   alternative but to present them here to the
     3   intentional perhaps, but just by virtue of                 3   Court, I'm going to be looking for whether
     4   the role that they play within that                        4   there has been flexibility.
     5   company.                                                   5      If I find that that's really
     6      Now, there may be ways around                           6   important information for Celsee to be able
     7   that, but I don't think I've heard enough                  7   to share with Mr. LaPointe or, you know, in
     8   on this call to be assured by Celsee that                  8   the event that, you know, there becomes
     9   there aren't sufficient safeguards in                      9   another individual there, as of to date
    10   place.                                                    10   unknown, that it needs to be shared, I'm
    11      And I'm also concerned that                            11   going to be looking for some flexibility
    12   this proposed language about two in-house                 12   and not unreasonable conduct to tie the
    13   attorneys, only one of which who's really                 13   hands of Celsee from litigating this case
    14   been described in any detail, Mr. LaPointe,               14   as it needs to. So, I'll be looking for
    15   through his declaration and through the                   15   that.
    16   representations of counsel.                               16      In any event, my ruling now is
    17      I don't know who Attorney No. 2                        17   to protect the information in the
    18   might be, and simply springing a name and a               18   traditional sense that most protective
    19   job title and assurances that the material                19   orders have this two-tier designation in it
    20   won't be inadvertently disclosed or misused               20   and it seems to work well.
    21   doesn't give the Court assurances, as it                  21      I know it's not a one size fits
    22   does not give the plaintiff assurances.                   22   all for all litigation, and this case may
    23      But, like I said, there may be                         23   be the exception to that, but for present
    24   a path forward. Certainly, I think with                   24   purposes, I think it's the way to go, I

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     1   respect to Mr. LaPointe there may be a path                1   will be receptive to an amendment to the
     2   forward, and the safest thing for the Court                2   protective order if the parties are able to
     3   to do, because once confidential                           3   reach agreement to carve out a provision
     4   information is out in the realm, you can't                 4   for Mr. LaPointe.
     5   stuff it back in the can, so to speak.                     5      And I will be receptive to
     6       The safest thing for the Court                         6   hearing any further disputes with respect
     7   to do is to protect that information by the                7   to overuse of the attorneys' eyes only
     8   two-tier confidentiality designations,                     8   confidential designation in this case in an
     9   knowing that there is the means within the                 9   effort to not necessarily truly protect
    10   protective order to contest the                           10   sensitive information, but more as an
    11   designation.                                              11   offensive weapon to tie the hand to the
    12       And I think that 10x -- I'm                           12   other side in litigating the case properly.
    13   sure both sides, not just 10x, but Celsee                 13      So, that is my ruling, it's
    14   too, can read between the lines of this                   14   under Rule 72(a), any party who wishes to
    15   ruling and know I'm expecting some                        15   object may timely take objections to the
    16   flexibility here, that if a small company                 16   district judge who will then review this
    17   like Celsee truly needs attorneys' eyes                   17   transcript and my order to determine
    18   only documents to be shared with Mr.                      18   whether it is clearly erroneous or contrary
    19   LaPointe in order to make strategic                       19   to law.
    20   litigation-related decisions in the case,                 20      Is there anything further from
    21   then there has to be some flexibility                     21   10x?
    22   there.                                                    22      MR. NOVIKOV: Nothing from 10x
    23       I'm expecting some flexibility                        23   Your Honor, thank you.
    24   on the part of 10x, because when disputes                 24      THE COURT: Is there anything


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     1 further from Celsee?
     2    MR. WALTER: No, Your Honor.
     3    THE COURT: All right. Thank
     4 you, counsel, that concludes our
     5 teleconference.
     6    (Teleconference concluded at
     7    2:35 p.m.)
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                                                          Page 34
     1   STATE OF DELAWARE.)
     2   NEW CASTLE COUNTY )
     3
     4          CERTIFICATE OF STENOGRAPHER
     5
     6               I, Patrick J. O'Hare, RPR, do
     7   hereby certify that I further certify that
     8   the foregoing is a true and correct
     9   transcript of the teleconference.
    10               I further certify that I am not
    11   counsel, attorney, or relative of either
    12   party, or otherwise interested in the event
    13   of this suit.
    14
    15
    16
    17      -----------------------
    18      Patrick J. O'Hare, RPR
    19
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